Case 2:20-cv-11064-FMO-MRW Document 151-4 Filed 10/11/21 Page 1 of 3 Page ID
                                #:2905




                        EXHIBIT "4"
         Case 2:20-cv-11064-FMO-MRW Document 151-4 Filed 10/11/21 Page 2 of 3 Page ID
                                         #:2906

Haley Aanestad

From:                            steven@lawbylg.com
Sent:                            Wednesday, September 29, 2021 4:14 PM
To:                              Vince Finaldi
Cc:                              Courtney Pendry; Alex Cunny; Haley Aanestad; Kathy Frederiksen; scott@lawbylg.com
Subject:                         RE: Roe v. Puig- Document Production (PUIG000024-000470)


Vince,

Hopefully you and your team have had a chance to download the financial condition related documents sent across a
few hours ago, even if you haven’t fully digested their import.

Are you available tomorrow to discuss the production, mediation / settlement issues, and the case in light of the
document production? Scott has a hearing in the morning, but we should both be free to connect between 10:30 and 2
pm.

Steven Gebelin
steven@lawbylg.com
Lesowitz Gebelin LLP
310-341-3072


From: steven@lawbylg.com <steven@lawbylg.com>
Sent: Wednesday, September 29, 2021 1:00 PM
To: 'Vince Finaldi' <vfinaldi@manlystewart.com>
Cc: 'Courtney Pendry' <cpendry@manlystewart.com>; 'Alex Cunny' <acunny@manlystewart.com>; 'Haley Aanestad'
<haanestad@manlystewart.com>; 'Kathy Frederiksen' <kfrederiksen@manlystewart.com>
Subject: Roe v. Puig- Document Production (PUIG000024-000470)

Counsel,

Documents responsive to Plaintiff’s Requests for Production, Set No. 3 (PUIG000024-000470) are being produced
electronically at the following Google Drive location:

https://drive.google.com/drive/folders/1hjARgbwskoJNfESIO6z67r2gZUfPr36O?usp=sharing

As the entire production is Confidential under the protective order, please do not share the link with anyone not
authorized to receive the materials under the Court order. Please also let us know when your firm has retrieved the
documents so we can disable the link, to further maintain the documents’ confidentiality.




                                                  Steven Gebelin
                                             8383 Wilshire Blvd., Suite 800
                                                           1
Case 2:20-cv-11064-FMO-MRW Document 151-4 Filed 10/11/21 Page 3 of 3 Page ID
                                #:2907
                             Beverly Hills, CA 90211
                                  310-341-3072
                              steven@lawbylg.com




                                        2
